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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CRAIG STANBURY,                     )
                                    )               CIVIL ACTION FILE NO.:
     Plaintiff,                     )
                                    )
v.                                  )
                                    )               JURY TRIAL DEMANDED
AUC CONSORTIUM, INC,                )
                                    )
                                    )
     Defendant.                     )
____________________________________)

                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Craig Stanbury (hereinafter “Plaintiff”), by and

through his undersigned counsel, and files this Complaint for Damages against

Defendant AUC Consortium, Inc. (hereinafter “Defendant”), showing this honorable

Court as follows:

                                INTRODUCTION

      This suit arises from unlawful age-based employment discrimination

committed by Defendant and its agents. Defendant terminated Plaintiff and three (3)

other employees above the age of 60, under the guise of a company reorganization.

In terminating Plaintiff for no reason other than his age, Defendant violated the Age
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Discrimination in Employment Act of 1967, 29 U.S.C. § 621 et seq. (hereinafter the

“ADEA”).

                          NATURE OF COMPLAINT

                                          1.

      Plaintiff brings this action for damages caused by Defendant’s unlawful

discriminatory employment practices involving Plaintiff’s employment and

termination. The practices committed by Defendants violate the ADEA. Plaintiff

seeks backpay, front pay, liquidated damages, compensatory damages, punitive

damages, and attorney’s fees and costs.

                         JURISDICTION AND VENUE

                                          2.

      The claims herein present questions arising under federal law, specifically the

ADEA, thus jurisdiction is appropriate in this Court pursuant to 28 U.S.C. § 1331.

                                          3.

      Defendant is located and doing business within this judicial district and

division. This action is brought within the Northern District of Georgia, wherein all

or a substantial majority of the unlawful employment practices were committed and

upon information and belief wherein all parties to this action reside, making venue

proper under 28 U.S.C. § 1391(b) and (c).
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                                     PARTIES

                                          4.

      Plaintiff, Craig Stanbury, is a sixty-two (62) year old resident of the state of

Georgia and is subject to the jurisdiction of this Court. At all times material to the

claims asserted herein, Plaintiff was employed by Defendant and was over the age

of forty (40).

                                          5.

      This Court has personal jurisdiction over Defendant.

                                          6.

      Defendant is a domestic nonprofit corporation organized and existing under

the laws of the State of Georgia. Defendant may be served with process by service

upon its registered agent, Michael Hodge, located at 156 Mildred Street, P.O. Box

92527, Atlanta, GA, 30314.

                                          7.

      Defendant is an employer within the meaning of the ADEA and employed 20

or more employees in each of twenty or more calendar weeks in the current and

preceding calendar year.
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                                         8.

      Defendant is subject to the anti-discrimination provisions of the ADEA, as

amended.

                     ADMINISTRATIVE PROCEDURES

                                         9.

      On April 1, 2020, Plaintiff timely filed a charge of discrimination with the

Equal Employment Opportunity Commission (“EEOC”), Charge Number 410-

2020-04785.

                                        10.

      The EEOC issued a “Notice of Right to Sue” on January 7, 2021, entitling an

action to be commenced within ninety (90) days of receipt of that notice.

                                        11.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue.”

                            FACTUAL ALLEGATIONS

                                        12.

      At all times relevant to this lawsuit, Plaintiff was over the age of forty (40)

and was otherwise qualified for the position he held with Defendant.
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                                           13.

      During all time relevant to this lawsuit, Defendants employed more than

twenty (20) employees for each working day during each of twenty (20) or more

calendar weeks in each calendar year relevant hereto.

                                           14.

      Plaintiff was an employee of Defendant and was engaged in an industry

affecting commerce.

                                           15.

      Defendant is a nonprofit consortium which promotes collaboration among

four colleges in the metro-Atlanta area.

                                           16.

      Defendant hired Plaintiff as an Accounting and Scholarship Manager on or

around November 21, 2016.

                                           17.

      As an Accounting and Scholarship Manager, Plaintiff, among other things,

coordinated and oversaw bookkeeping, scholarship coordination, and records

maintenance.
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                                         18.

      Plaintiff more than competently performed the duties of his position, receiving

only outstanding or satisfactory performance evaluations the entirety of his tenure.

                                         19.

      After working for Defendant for nearly three years, Plaintiff was terminated

suddenly and without notice on October 4, 2019.

                                         20.

      At the time of termination, Plaintiff was sixty-one (61) years of age.

                                         21.

      Four (4) other individuals, three of whom were above the age of sixty (60),

were also terminated by Defendant on October 4, 2019.

                                         22.

      According to Defendant, the employees who were terminated, including

Plaintiff, were let go due to a “reorganization” and the elimination of positions.

                                         23.

      While supposedly eliminating four (4) positions occupied by individuals over

the age of sixty (60), Defendant chose to retain positions occupied by individuals

between the ages of thirty (30) and forty-eight (48).
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                                          24.

       On October 9, 2019, five (5) days after Plaintiff and his coworkers were

terminated, Defendant posted five (5) jobs with nearly identical titles and duties as

the positions Defendant supposedly eliminated.

                                          25.

       After terminating four (4) individuals over the age of sixty (60) at one time,

Defendant and its representatives stated that the purpose of the company

reorganization was to align with a new vision and to innovate.               Defendant

accomplished this goal by replacing the employees it fired with younger new hires.

                         COUNT I
     AGE-BASED DISCRIMINATION IN VIOLATION OF THE ADEA

                                          26.

       Plaintiff hereby realleges and incorporates by reference paragraphs 1 through

25 as if fully set forth herein.

                                          27.

       Plaintiff has satisfied all administrative prerequisites to bringing this claim.

                                          28.

       Defendant’s act of terminating Plaintiff due to his age constituted

discriminatory treatment such that Plaintiff’s terms and conditions of employment

were adversely impacted.
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                                            29.

       Defendant’s reasons for terminating Plaintiff are pretextual.

                                            30.

       The true reason Defendant terminated Plaintiff was because of his age.

                                            31.

       Plaintiff’s termination was the product of unlawful age bias on the part of

Defendant. Defendant had no legitimate, non-discriminatory purpose, motive or

intent to justify its actions against Plaintiff.

                                            32.

       Defendant intentionally, willfully, and wantonly disregarded Plaintiff’s rights

as an employee and Defendant’s discriminatory actions were taken in bad faith.

                                            33.

       As a direct and proximate result of Defendant’s intentional and unlawful

conduct, which was intended to cause Plaintiff harm, and/or was committed with

reckless disregard of the harm caused to Plaintiff, and in derogation of his federally

protected rights, Plaintiff has suffered and continues to suffer emotional pain and

suffering, mental anguish, humiliation, loss of enjoyment of life, damage to his

reputation, and other past and future pecuniary losses.
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                                           34.

       Defendant willfully disregarded Plaintiff’s rights afforded to him by the

ADEA, entitling Plaintiff to recover damages.

                                      COUNT II
                                   ATTORNEY’S FEES

                                           35.

       Plaintiff hereby realleges and incorporates by reference paragraphs 1

through 34 as if fully set forth herein.

                                           36.

      Defendant committed the foregoing acts in bad faith and caused Plaintiff

unnecessary trouble and expense in refusing to participate in the EEOC
investigation

process.

                                           37.

       Accordingly, Plaintiff is entitled to recover from Defendant his expenses

of litigation, including a reasonable sum as attorney’s fees for having to prosecute

this claim.

                                   COUNT III
                               PUNITIVE DAMAGES

                                           38.

      Plaintiff hereby realleges and incorporates by reference paragraphs 1 through

37 as if fully set forth herein.
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                                              39.

         The foregoing acts of Defendant were spiteful, willful, deliberate, callously

indifferent to Plaintiff’s rights, and demonstrated a specific intent to cause Plaintiff

harm.

                                              40.

         Accordingly, punitive damages should be awarded to punish Defendant and

deter Defendant from repeating such wrongful acts.


         WHEREFORE, Plaintiff requests the following relief:

    a)      General damages for mental and emotional suffering caused by the

            misconduct of Defendant;

   b)       Punitive damages based on the Defendant’s willful, malicious, intentional,

            and deliberate acts;

   c)       Special damages and/or liquidated damages for lost wages and benefits and

            prejudgment interest thereon;

   d)       Reasonable attorneys’ fees and expenses of litigation;

   e)       Trial by jury as to all issues;

   f)       Prejudgment interest at the rate allowed by law;

   g)       Declaratory relief to the effect that Defendant violated Plaintiff’s statutory

            rights;
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   h)       Injunctive relief of reinstatement, or front pay in lieu thereof, and

            prohibiting Defendant from further unlawful conduct of the type described

            herein; and

   i)       All other relief to which he may be entitled.

                             DEMAND FOR JURY TRIAL

         Plaintiff herewith demands trial by jury as to all issues to which a right to

trial by jury is afforded.

         Respectfully submitted this 2nd day of April, 2021.

                                                     HOFFER & WEBB, LLC



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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1C

      Pursuant to the Local Rules of this Court, the above-signed counsel certify

that this pleading complies with all formatting requirements of the Local Rules and

further certifies that this pleading is printed in Times New Roman, 14-point type.
